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     9 Lead Counsel for Plaintiffs
   10 [Additional counsel appear on signature page.]
   11                        UNITED STATES DISTRICT COURT
   12                       CENTRAL DISTRICT OF CALIFORNIA
   13 MARK STOYAS and NEW                )       Case No. 2:15-cv-04194-DDP(JCx)
      ENGLAND TEAMSTERS &                )
   14 TRUCKING INDUSTRY PENSION          )       CLASS ACTION
      FUND,                              )
   15                                    )       JOINT STIPULATION MODIFYING
                               Plaintiffs,
                                         )       THE CASE SCHEDULING ORDER
   16                                    )
             and                         )
   17                                    )
      AUTOMOTIVE INDUSTRIES              )
   18 PENSION TRUST FUND, Individually   )
      and on Behalf of All Others Similarly
                                         )
   19 Situated,                          )
                                         )
   20                    Lead Plaintiff, )
                                         )
   21       vs.                          )
                                         )
   22   TOSHIBA CORPORATION,             )
                                         )
   23                    Defendant.      )
                                         )
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     1            Lead Plaintiff Automotive Industries Pension Trust Fund (“AIPTF”) and
     2 named Plaintiff New England Teamsters & Trucking Industry Pension Fund
     3 (“NETTIPF”) (collectively “Plaintiffs”) and Defendant Toshiba Corporation
     4 (“Toshiba” and, together with Plaintiffs, the “Parties”) respectfully submit this Joint
     5 Stipulation Modifying the Case Scheduling Order. Beyond the express provisions
     6 herein, all Parties reserve all of their rights, claims, defenses, privileges and
     7 immunities.
     8            WHEREAS, on August 8, 2019, Plaintiffs filed the Second Amended and
     9 Consolidated Class Action Complaint for Violation of the Securities Laws of the
   10 United States and Japan (ECF No. 75) (“Complaint”), bringing this action as a
   11 putative class action pursuant to Rule 23 of the Federal Rules of Civil Procedure;
   12             WHEREAS, on January 28, 2020, the Court denied Toshiba’s motion to
   13 dismiss the Complaint (ECF No. 88), which lifted the discovery stay in this action
   14 imposed by 15 U.S.C. §78u-4(b)(3)(B) of the Private Securities Litigation Reform
   15 Act of 1995;
   16             WHEREAS, on March 13, 2020, the Court entered a Scheduling Order in this
   17 action (ECF No. 97), which provides that “the parties are hereby granted leave of
   18 the court to adjust the trial date, and other related dates, by up to eight months,
   19 provided all parties agree to such adjustments and submit a stipulation in that
   20 regard”;
   21             WHEREAS, Plaintiffs served Toshiba with requests for production on
   22 March 4, 2020 and September 17, 2020, pursuant to which Toshiba has produced
   23 approximately 20,000 documents and represents that its production is substantially
   24 complete as of June 18, 2021;
   25             WHEREAS, Plaintiffs have served several third-party subpoenas, including:
   26 (a) a subpoena to the U.S. Securities and Exchange Commission, which Plaintiffs
   27 had been unable to serve until October 30, 2020 as a result of the health crisis; and
   28 (b) a subpoena to Ernst & Young LLP, pursuant to which Ernst & Young LLP was
                                                 -1-
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     1 unable to produce documents until March 30, 2021 as its Manhattan offices were
     2 closed as a result of COVID-19;
     3            WHEREAS, Plaintiffs need to review the discovery produced and take
     4 depositions in this action prior to trial; and
     5            WHEREAS, given the remaining documents to be produced and reviewed,
     6 and the need to schedule depositions following the completion of document
     7 production, Plaintiffs believe that an extension of the existing deadlines is necessary
     8 and Toshiba consents to the extension;
     9            IT IS HEREBY STIPULATED AND AGREED, by and between the
   10 undersigned counsel for the Parties, pursuant to Rule 16(b)(4) of the Federal Rules
   11 of Civil Procedure and this Court’s March 13, 2020 Scheduling Order, and subject
   12 to the approval of the Court, that:
   13             1.         Good cause exists for modifying the scheduling order; and
   14             2.         The remaining case schedule, including trial, shall be extended as
   15 follows:
   16               ACTION                    CURRENT DATE             PROPOSED DATE
   17       Fact discovery cutoff            September 23, 2021      March 25, 2022
            Deadline for opening             October 21, 2021        April 22, 2022
   18       expert reports
   19       Deadline for rebuttal            November 18, 2021       May 20, 2022
            expert reports
   20       Expert discovery cutoff          January 19, 2022        June 24, 2022
   21       Deadline to file                 February 17, 2022       August 25, 2022
            dispositive motion(s)
   22       Opposition(s) to                 April 6, 2022           October 6, 2022
            dispositive motion(s)
   23
            Reply(ies) in support of         May 12, 2022            November 17, 2022
   24       dispositive motion(s)
   25       Final pretrial conference        September 12, 2022      February 13, 2023
                                             11:00 a.m.              11:00 a.m.
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     1                 ACTION       CURRENT DATE             PROPOSED DATE
     2      Trial                 September 27, 2022      March 14, 2023
                                  9:00 a.m.               9:00 a.m.
     3
     4    DATED: June 24, 2021              ROBBINS GELLER RUDMAN &
                                             DOWD LLP
     5                                      DENNIS J. HERMAN
     6                                      WILLOW E. RADCLIFFE
                                            JOHN H. GEORGE
     7                                      HADIYA K. DESHMUKH
     8
     9                                              s/ Willow E. Radcliffe
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   15                                       ROBBINS GELLER RUDMAN
                                             & DOWD LLP
   16                                       MATTHEW I. ALPERT
   17                                       PATTON L. JOHNSON
                                            655 West Broadway, Suite 1900
   18                                       San Diego, CA 92101
   19                                       Telephone: 619/231-1058
                                            619/231-7423 (fax)
   20
   21                                       Lead Counsel for Plaintiffs

   22     DATED: June 24, 2021              WHITE & CASE LLP
   23                                       BRYAN A. MERRYMAN (SBN 134357)
   24
   25                                               s/ Bryan A. Merryman
                                                   BRYAN A. MERRYMAN
   26
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     3                                          Telephone: 213/620-7700
                                                213/452-2329 (fax)
     4                                          bmerryman@whitecase.com
     5
                                                WHITE & CASE LLP
     6                                          CHRISTOPHER M. CURRAN
                                                 (pro hac vice)
     7
                                                ERIC GRANNON (pro hac vice)
     8                                          JAIME M. CROWE (pro hac vice)
                                                REUBEN J. SEQUEIRA (pro hac vice)
     9
                                                701 Thirteenth Street NW
   10                                           Washington, DC 20005-3807
                                                Telephone: 202/626-3600
   11
                                                202/639-9355 (fax)
   12                                           ccurran@whitecase.com
   13                                           egrannon@whitecase.com
                                                jcrowe@whitecase.com
   14                                           rsequeira@whitecase.com
   15                                           Attorneys for Defendant Toshiba
                                                Corporation
   16
   17               CERTIFICATE PURSUANT TO LOCAL RULE 5-4.3.4(a)(2)(i)
   18
                  I, Willow E. Radcliffe, am the ECF User whose ID and password are being
   19
         used to file this Joint Stipulation Modifying the Case Scheduling Order.        In
   20
         compliance with Civil L.R. 5-4.3.4(a)(2)(i), I hereby attest that Bryan A. Merryman
   21
         has concurred in this filing.
   22
   23
   24                                                    s/ Willow E. Radcliffe
                                                        WILLOW E. RADCLIFFE
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     1                               CERTIFICATE OF SERVICE
     2            I hereby certify under penalty of perjury that on June 24, 2021, I authorized
     3 the electronic filing of the foregoing with the Clerk of the Court using the CM/ECF
     4 system which will send notification of such filing to the e-mail addresses on the
     5 attached Electronic Mail Notice List, and I hereby certify that I caused the mailing
     6 of the foregoing via the United States Postal Service to the non-CM/ECF participants
     7 indicated on the attached Manual Notice List.
     8                                               s/ Willow E. Radcliffe
                                                     WILLOW E. RADCLIFFE
     9
                                                     ROBBINS GELLER RUDMAN
   10                                                      & DOWD LLP
                                                     Post Montgomery Center
   11                                                One Montgomery Street, Suite 1800
                                                     San Francisco, CA 94104
   12                                                Telephone: 415/288-4545
                                                     415/288-4534 (fax)
   13                                                E-mail: willowr@rgrdlaw.com
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